Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 1 of 34 PageID #:17




                          EXHIBIT 1
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 2 of 34 PageID #:18
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 3 of 34 PageID #:19
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 4 of 34 PageID #:20
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 5 of 34 PageID #:21
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 6 of 34 PageID #:22
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 7 of 34 PageID #:23
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 8 of 34 PageID #:24
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 9 of 34 PageID #:25
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 10 of 34 PageID #:26
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 11 of 34 PageID #:27
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 12 of 34 PageID #:28
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 13 of 34 PageID #:29
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 14 of 34 PageID #:30
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 15 of 34 PageID #:31
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 16 of 34 PageID #:32
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 17 of 34 PageID #:33
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 18 of 34 PageID #:34
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 19 of 34 PageID #:35
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 20 of 34 PageID #:36
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 21 of 34 PageID #:37
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 22 of 34 PageID #:38
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 23 of 34 PageID #:39
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 24 of 34 PageID #:40
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 25 of 34 PageID #:41
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 26 of 34 PageID #:42
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 27 of 34 PageID #:43
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 28 of 34 PageID #:44
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 29 of 34 PageID #:45
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 30 of 34 PageID #:46
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 31 of 34 PageID #:47
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 32 of 34 PageID #:48
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 33 of 34 PageID #:49
Case: 1:24-cv-02012 Document #: 1-1 Filed: 03/08/24 Page 34 of 34 PageID #:50
